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 2
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     Attorney for Defendant
 5
     ELO WADLEY
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 7

 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                         Case No.: 2:17-CR-023 TLN
12
                    Plaintiff,
13
     vs.                                               STIPULATION AND ORDER
14                                                     CONTINUING STATUS CONFERENCE
     CURTIS PHILLIPS, CHARLES RAY                      AND EXCLUDING TIME UNDER THE
15                                                     SPEEDY TRIAL ACT
     GOODMAN, DEBORAH LYNN POLLARD,
16   CONWAY PHILLIPS, JR., and ELO WILLIE
     WADLEY,                                           Date:      August 17, 2017
17                                                     Time:      9:30 a.m.
                    Defendants.                        Court:     Hon. Troy L. Nunley
18

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21

22          This matter involves a charged conspiracy to distribute cocaine base. The Drug

23   Enforcement Administration’s investigation included the use of confidential sources, controlled
24
     purchases, and a court-authorized wiretap of a pager and two cellular telephones. The
25
     government has provided voluminous discovery to defense counsel, including nearly 500 pages
26
     of investigative reports and three discs of recordings and other materials. Defense counsel
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 1   require additional time to review this discovery, and to conduct their own investigations
 2
     regarding potential defenses in the case. In addition, Attorney Greg Foster made his initial
 3
     appearance in this case for Defendant Conway Phillips, Jr. on April 27, 2017, and is in the
 4
     process of conducting initial review of the discovery.
 5

 6          The parties to this action, Plaintiff United States of America by and through Assistant

 7   United States Attorney Jason Hitt, Attorney Olaf Hedberg on behalf of Defendant Curtis Phillips,
 8
     Attorney Michael Long on behalf of Defendant Charles Ray Goodman, Attorney Toni White on
 9
     behalf of Defendant Deborah Lynn Pollard, Attorney Greg Foster on behalf of Defendant
10
     Conway Phillips, Jr., and Attorney Todd Leras on behalf of Defendant Elo Willie Wadley,
11

12   stipulate as follows:

13          1.    By this stipulation, Defendants now move to vacate the status conference presently
14
                  set for May 18, 2017. The parties request to continue the status conference to August
15
                  17, 2017, at 9:30 a.m., and to exclude time between May 18, 2017 and August 17,
16
                  2017 under Local Code T-4. The United States does not oppose this request.
17

18          2. Due to the volume of discovery in the case, including 500 pages of investigative

19                reports and three discs containing additional materials, defense counsel for all
20
                  defendants are engaged in ongoing review of the discovery and defense investigation
21
                  related to potential defenses in this matter. This investigation is necessary to ensure
22
                  that potential defenses are explored and discussed with each defendant in the case.
23

24          3. All defense counsel represent and believe that failure to grant additional time as

25                requested would deny each of them the reasonable time necessary for effective
26
                  preparation, considering the exercise of due diligence.
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 1          4. Based on the above-stated facts, the parties jointly request that the Court find that the
 2
                ends of justice served by continuing the case as requested outweigh the best interest
 3
                of the public and the Defendants in a trial within the time prescribed by the Speedy
 4
                Trial Act.
 5

 6          5. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

 7              seq., within which trial must commence, the time period of May 18, 2017 to August
 8
                17, 2017, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), and
 9
                (B) (iv) [Local Code T-4] because it results from a continuance granted by the Court
10
                at Defendants’ request on the basis that the ends of justice served by taking such
11

12              action outweigh the best interest of the public and the Defendants in a speedy trial.

13          6. Nothing in this stipulation and order shall preclude a finding that other provisions of
14
                the Speedy Trial Act dictate that additional time periods are excludable from the
15
                period within which a trial must commence.
16
            Assistant U.S. Attorney Jason Hitt and all defense counsel have reviewed this proposed
17

18   order and authorized Todd Leras to sign it on their behalf.

19
     DATED: May 15, 2017
20
                                                          By       Todd D. Leras for
21                                                                 JASON HITT
                                                                   Assistant United States Attorney
22
     DATED: May 15, 2017
23
                                                          By       /s/ Todd D. Leras for
24                                                                 OLAF W. HEDBERG
                                                                   Attorney for Defendant
25                                                                 CURTIS PHILLIPS
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 1   DATED: May 15, 2017
                                             By    /s/ Todd D. Leras for
 2
                                                   MICHAEL D. LONG
 3                                                 Attorney for Defendant
                                                   CHARLES GOODMAN
 4
     DATED: May 15, 2017
 5
                                             By    /s/ Todd D. Leras for
 6                                                 TONI L. WHITE
                                                   Attorney for Defendant
 7                                                 DEBORAH POLLARD
 8
     DATED: May 15, 2017
 9                                           By    /s/ Todd D. Leras
                                                   GREG FOSTER
10                                                 Attorney for Defendant
                                                   CONWAY PHILLIPS, JR.
11

12   DATED: May 15, 2017
                                             By    /s/ Todd D. Leras
13                                                 TODD D. LERAS
                                                   Attorney for Defendant
14
                                                   ELO WADLEY
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 1                                                ORDER
 2
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the initial status conference in this matter, scheduled for May 18, 2017, is
 4
     vacated. A new status conference is scheduled for August 17, 2017, at 9:30 a.m. The Court
 5

 6   further finds, based on the representations of the parties and Defendants’ request, that the ends of

 7   justice served by granting the continuance outweigh the best interests of the public and the
 8
     defendants in a speedy trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. §
 9
     3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation taking into
10
     consideration the exercise of due diligence for the period from May 18, 2017, up to and
11

12   including August 17, 2017.

13   DATED: May 16, 2017
14

15
                                                           Troy L. Nunley
16                                                         United States District Judge

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     ORDER CONTINUING STATUS
28   CONFERENCE
